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                       BEFORE THE UNITED STATES
              JUDICIAL PANEL ON MULTIDISTRICT LITIGATION



IN RE: FTX CRYPTOCURRENCY                    MDL No. 3076
EXCHANGE COLLAPSE LITIGATION




               NOTICE OF PRESENTATION OF ORAL ARGUMENT

                               SCHEDULE OF ACTIONS


           Caption               Defendant       District    Civil Action      Judge
                                                                 No.
1 Rabitte v. Sequoia Capital   Sequoia Capital   N.D. Cal.    3:23-cv-         Judge
   Operations, LLC et al.        Operations,                 00655-JSC       Jacqueline
                                   LLC                                      Scott Corley
2     O’Keefe v. Sequoia       Sequoia Capital   S.D. Fla.    1:23-cv-      Judge Jose E.
    Capital Operations, LLC      Operations,                 20700-JEM        Martinez
             et al.                LLC
3    Girshovich v. Sequoia     Sequoia Capital   N.D. Cal.    3:23-cv-         Judge
    Capital Operations, LLC      Operations,                 00945-JSC       Jacqueline
             et al.                LLC                                      Scott Corley
